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          In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-0485V
                                       Filed: July 10, 2019
                                         UNPUBLISHED


    JAYNE STOCKTON,

                          Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Attorneys’ Fees and Costs
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                         Respondent.


John Robert Howie, Howie Law, PC, Dallas, TX, for petitioner.
Colleen Clemons Hartley, U.S. Department of Justice, Washington, DC, for respondent.

                        DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

       On April 3, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of a Tetanus Diphtheria acellular Pertussis (“Td”)
vaccine administered in her right arm on November 1, 2016. Petition at 1. On May 23,
2019, the undersigned issued a decision awarding compensation to petitioner based on
the respondent’s proffer. ECF No. 29.

       On May 31, 2019, petitioner filed a motion for attorneys’ fees and costs. ECF
No. 33. Petitioner requests attorneys’ fees in the amount of $18,831.40 and attorneys’
costs in the amount of $669.16. Id. at 1. In compliance with General Order #9,

1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the Internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, the undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).

2
    National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
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petitioner filed a signed statement indicating that petitioner incurred no out-of-pocket
expenses. Id. at 10. Thus, the total amount requested is $19,500.56.

       On May 31, 2019, respondent filed a response to petitioner’s motion. ECF No.
34. Respondent argues that “[n]either the Vaccine Act nor Vaccine Rule 13 requires
for respondent in the resolution of a request by a petitioner for an award of attorneys’
fees and costs.” Id. at 1. Respondent adds, however, that he “is satisfied the statutory
requirements for an award of attorneys’ fees and costs are met in this case.” Id. at 2.
Respondent “respectfully recommends that the Chief Special Master exercise her
discretion and determine a reasonable award for attorneys’ fees and costs.” Id. at 3.

      On May 31, 2019, petitioner filed a reply. ECF No. 35. Petitioner states that as
Respondent made no specific objection that “Petitioner does not intend to file a
substantive response.” Id. at 1.

      The undersigned has reviewed the billing records submitted with petitioner’s
request. In the undersigned’s experience, the request appears reasonable, and the
undersigned finds no cause to reduce the requested hours or rates.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. §
15(e). Based on the reasonableness of petitioner’s request, the undersigned GRANTS
petitioner’s motion for attorneys’ fees and costs.

      Accordingly, the undersigned awards the total of $19,500.56 3 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
John Robert Howie, Jr.

        The clerk of the court shall enter judgment in accordance herewith. 4

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




3 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                      2
